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Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 2 of 36 PageID #:2
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 3 of 36 PageID #:3
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 4 of 36 PageID #:4
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 5 of 36 PageID #:5
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 6 of 36 PageID #:6
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 7 of 36 PageID #:7
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 8 of 36 PageID #:8
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 9 of 36 PageID #:9
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 10 of 36 PageID #:10
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 11 of 36 PageID #:11
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 12 of 36 PageID #:12
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 13 of 36 PageID #:13
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Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 20 of 36 PageID #:20
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 21 of 36 PageID #:21
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 22 of 36 PageID #:22
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 23 of 36 PageID #:23
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Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 27 of 36 PageID #:27
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 28 of 36 PageID #:28
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 29 of 36 PageID #:29
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 30 of 36 PageID #:30
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 31 of 36 PageID #:31
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 32 of 36 PageID #:32
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 33 of 36 PageID #:33
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 34 of 36 PageID #:34
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 35 of 36 PageID #:35
Case: 1:12-cv-00446 Document #: 1 Filed: 01/20/12 Page 36 of 36 PageID #:36
